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 9                               UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN FRANCISCO DIVISION
12

13   IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV- 07-5944-SC
     ANTITRUST LITIGATION
14   ____________________________________            MDL No. 1917
     This Document Relates to:
15                                                   [PROPOSED] ORDER GRANTING CLASS
     Crago, d/b/a Dash Computers, Inc., et al. v.    CERTIFICATION AND PRELIMINARY
16                                                   APPROVAL OF CLASS ACTION
     Mitsubishi Electric Corporation, et al., Case   SETTLEMENT WITH THE THOMSON AND
17   No. 14-CV-2058 (SC).                            TDA DEFENDANTS
18                                                   Date:        TBD 10/23/15
19                                                   Time:        TBD 10:00 AM
                                                     Judge:       Honorable Samuel Conti
20                                                   Courtroom:   1

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     [PROPOSED] ORDER GRANTING CLASS CERTIFICATION AND PRELIMINARY APPROVAL OF CLASS
     ACTION SETTLEMENT WITH THE THOMSON AND TDA DEFENDANTS – 07-CV-5944-SC
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 1          On February 13, 2015, Plaintiffs filed a Motion for Preliminary Approval of Class Action

 2   Settlement with Thomson SA (now known as Technicolor SA) and Thomson Consumer Electronics,

 3   Inc. (now known as Technicolor USA, Inc.) (collectively “Thomson”); and Technologies Displays

 4   Americas LLC (formerly known as Thomson Displays Americas LLC) (“TDA”) (collectively,

 5   “Settling Defendants”). The Court, having reviewed the motion, the settlement agreement, the

 6   pleadings and other papers on file in this action, and the statements of counsel and the parties, hereby

 7   finds that the motion should be GRANTED.

 8          NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

 9          1.      For purposes of this Order, except as otherwise set forth herein, the Court adopts and

10   incorporates the definitions contained in the settlement agreement between Plaintiffs, Thomson, and

11   TDA dated, February 6, 2015 (“Settlement Agreement”).

12          2.      The Court hereby gives its preliminary approval to the Settlement Agreement, subject

13   to a hearing on the final approval of the Settlement Agreement (the “Fairness Hearing”).

14          3.      The Court finds that the settlement falls within the range of possible final approval and

15   that there is a sufficient basis for notifying the class of the proposed settlement and for setting a

16   Fairness Hearing.

17          4.      Pursuant to Federal Rule of Civil Procedure 23, the Court provisionally certifies the

18   following Settlement Class for settlement purposes only:

19          All persons and entities who, between March 1, 1995 and November 25, 2007,
            directly purchased a CRT or a CRT Product in the United States from any
20
            Defendant or any subsidiary or affiliate thereof, or any co-conspirator. Excluded
21          from the Class are defendants, their parent companies, subsidiaries and affiliates,
            any co-conspirators, all governmental entities, and any judges or justices assigned to
22          hear any aspect of this action.
23          5.      CRT Products refers to all forms of Cathode Ray Tubes (CRTs), as well as electronic

24   devices that contain CRTs. It includes color picture tubes (CPTs), color display tubes (CDTs),

25   monochrome display tubes, and the finished products that contain CPTs and CDTs – televisions and

26   monitors. The Class definition encompasses those who bought a CRT Product directly from a

27   Defendant and Co-Conspirator, even if the CRT contained therein was manufactured by an affiliated

28   entity, principal, agent, or co-conspirator. The Settlement Class definition as set forth above and as
                                                         1
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 1   used in this order is for settlement purposes only. It has no binding effect on the Court or on the Non-

 2   Settling Defendants for any other purpose.

 3          6.      The Court further provisionally finds that the prerequisites to a class action under Rule

 4   23 are satisfied for settlement purposes in that: (a) there are hundreds of geographically dispersed

 5   class members, making joinder of all members impracticable; (b) there are questions of law and fact

 6   common to the class which predominate over individual issues; (c) the claims or defenses of the class

 7   plaintiffs are typical of the claims or defenses of the class; (d) the plaintiffs will fairly and adequately

 8   protect the interests of the class, and have retained counsel experienced in antitrust class action

 9   litigation who have, and will continue to, adequately represent the class; and (e) a class action is

10   superior to individual actions. Settling defendants will not be bound by the Settlement Class

11   definition for any purpose other than this specific settlement with the direct purchaser class.

12          7.      The Court hereby appoints the Plaintiffs named in the First Amended Direct Purchaser

13   Plaintiffs’ Class Action Complaint Against Mitsubishi and Thomson (“FAC”). Crago, d/b/a Dash

14   Computers, Inc., et al. v. Mitsubishi Elec. Corp., et al., Case No. 14-CV-2058 (SC) (N.D. Cal.) (Dkt.

15   No. 14-3), filed May 20, 2014, as Representative Plaintiffs of the Settlement Class.

16          8.      The court appoints the law firm of Saveri & Saveri, Inc. to serve as Class Counsel for

17   the Settlement Class.

18          9.      The Court approves the form of the long form notice attached hereto as Exhibit A

19   (“Long Form Notice”). The Court also approves the form of the summary notice attached hereto as

20   Exhibit B (“Summary Notice”). The Court finds that taken together, mailing of the Long Form Notice

21   (U.S. Mail or electronic mail), publication of the Summary Notice, and internet posting of the Long

22   Form Notice are: (i) the best notice practicable; (ii) reasonably calculated, under the circumstances, to

23   apprise the Settlement Class members of the proposed settlement with Thomson/TDA and of their

24   right to object or to exclude themselves as provided in the Settlement Agreements; (iii) reasonable and

25   constitute due, adequate, and sufficient notice to all persons entitled to receive notice; and (iv) meet all

26   applicable requirements of due process and any other applicable requirements under federal law.
27          10.     Plaintiffs’ claims administrator shall provide notice of the Thomson/TDA settlement to

28   Settlement Class members. The claims administrator shall provide direct notice of the settlement to all
                                                        2
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 1   members of the Settlement Class on or before a date set 14 days from the entry of this Order. Such

 2   notice shall be sent either by first class U.S. mail postage prepaid or by electronic mail. The claims

 3   administrator shall publish the Summary Notice in the national editions of the Wall Street Journal and

 4   the New York Times on or before a date set 18 days from the entry of this Order. The Claims

 5   Administrator shall also cause a copy of the class notices and the Thomson/TDA Settlement

 6   Agreement to be posted on the internet website www.CRTDirectPurchaserAntitrustSettlement.com.

 7   In addition, on or before a date set 14 days from the entry of this Order, the Claims Administrator

 8   shall cause the “Frequently Asked Questions” and “Dates to Remember” pages of the website

 9   www.CRTDirectPurchaserAntitrustSettlement.com to be updated with all deadlines contained in this

10   order as well as the Fairness Hearing date.

11            11.   Each Settlement Class member shall have the right to be excluded from the Settlement

12   Class by mailing a request for exclusion to the claims administrator no later than a date set, at least

13   forty-five (45) days after mailing of the direct notice. Requests for exclusion must be in writing and

14   set forth the name and address of the person or entity who wishes to be excluded, as well as all trade

15   names or business names and addresses used by such person or entity, and must be signed by the

16   Settlement Class member seeking exclusion. No later than fourteen (14) days after the date set for

17   exclusions, Class Counsel shall file with the Court a list of all persons or entities who have timely

18   requested exclusion from the Settlement Class as provided in the Settlement Agreement. Settling

19   Defendants retain all of their legal rights to assert any defense, including lack of federal antitrust

20   standing, against any opt out plaintiff or other person not participating in the settlement.

21            12.   Any Settlement Class member who does not properly and timely request exclusion

22   from the Settlement Class as provided above shall, upon final approval of the settlement, be bound by

23   the terms and provisions of the Settlement so approved, including but not limited to the releases,

24   waivers, and covenants described in the agreement, whether or not such person or entity objected to

25   the Settlement Agreement and whether or not such person or entity makes a claim upon the settlement

26   funds.
27            13.   Each Settlement Class member who has not timely excluded itself from the settlement

28   shall have the right to object to (1) the settlement, and/or (2) the plan of allocation by filing written
                                                         3
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 1   objections with the Court no later than a date set at least forty-five (45) days after mailing direct

 2   notice, copies of which shall be served on all counsel listed in the class notice. Failure to timely file

 3   and serve written objections will preclude a class member from objecting to the settlement.

 4            14.   Each class member as provided above shall have the right to appear at the Fairness

 5   Hearing by filing a Notice of Intention to Appear no later than a date set at least forty-five (45) days

 6   after mailing direct notice, copies of which shall be served on all counsel listed in the class notice.

 7            15.   The Court will conduct a Fairness Hearing on a date set at least 120 days from the

 8   entry of this Order at 10:00 a.m. The Fairness Hearing will be conducted to determine the following:

 9               a.         Whether the proposed settlement is fair, reasonable, and adequate and should
     See para. 21           be granted final approval;
10
                    b.      Whether final judgment should be entered dismissing the claims of the class
11                          against Thomson and TDA;
12                  c.      Approval of the plan of allocation;
13                  d.      Such other matters as the Court may deem appropriate.
14            16.   Each member of the Settlement Class shall retain all rights and causes of action with

15   respect to claims against all Defendants other than the Settling Defendants and the entities defined as
16   “Thomson Releasees” in the Settlement Agreement, regardless of whether such member of the
17   Settlement Class decides to remain in the Settlement Class or to exclude itself from the Settlement

18   Class.

19            17.   All briefs, memoranda and papers in support of final approval of the settlement shall

20   be filed no later than twenty-one (21) days before the Fairness Hearing.

21            18.   Plaintiffs’ Counsel and their designees are authorized to expend funds from the escrow

22   accounts to pay taxes, tax expenses, notice, and administration costs as set forth in each of the

23   Settlement Agreements.

24            19.   All further direct purchaser class proceedings as to Thomson and TDA are hereby

25   stayed except for any actions required to effectuate the settlement.

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 1          20.     The Court retains exclusive jurisdiction over this action to consider all further matters

 2   arising out of or connected with the settlement.

 3
              6/12/15
 4   Dated: _____________________                           ________________________________
                                                            Hon. Samuel Conti
 5                                                          United States District Judge

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 7       21.      The fairness hearing will take place on Friday, October 23, 2015 at 10:00 AM in
                  Courtroom 1, 17th Floor, San Francisco Courthouse, 450 Golden Gate Ave., San
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                  Francisco, CA 94102.
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